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Case No: 6:20cv474
                                                                                   Doc. #12
  AO 458 (Rev. 06/09) Appearance of Counsel


                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas


                 WSOU INVESTMENTS, LLC                              )
                               Plaintiff                            )
                                  v.                                )      Case No.   6:20-CV-474-ADA
            DELL TECHNOLOGIES INC. ET AL.                           )
                              Defendant                             )

                                                        APPEARANCE OF COUNSEL

  To:       The clerk of court and all parties of record

            I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

            DELL TECHNOLOGIES INC., DELL INC., and EMC CORPORATION                                                               .


  Date:          07/06/2020                                                                   /s/ Barry K. Shelton
                                                                                               Attorney’s signature


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